              Case 19-10600-JDW                           Doc 17            Filed 03/11/19 Entered 03/11/19 08:01:41                                                 Desc Main
                                                                           Document      Page 1 of 57
 Fill in this information to identify your case:

 Debtor 1                   Michael Ryan Jones
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Stephanie B Jones
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-10600
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             242,758.75

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             242,758.75

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             421,565.87

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              66,350.96


                                                                                                                                     Your total liabilities $               487,916.83


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,142.37

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                1,450.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Michael Ryan Jones
 Debtor 2      Stephanie B Jones                                                          Case number (if known) 19-10600

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                                                                       Document      Page 3 of 57
 Fill in this information to identify your case and this filing:

 Debtor 1                   Michael Ryan Jones
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Stephanie B Jones
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-10600                                                                                                                 Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:                                               Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:                                                    Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:                                                     Debtor 2 only                                Current value of the      Current value of the
           Approximate mileage:                                      Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          2015 Ford F250: over 21,000
          miles ($43,965.00) & 2015                                  Check if this is community property                  $50,000.00                  $50,000.00
          Can-Am Maverick 1000R Turbo                                (see instructions)

          X DS ($10,066.50)


  3.2      Make:                                               Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:                                                    Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:                                                     Debtor 2 only                                Current value of the      Current value of the
           Approximate mileage:                                      Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          2015 Ford F250: over 88,000
          miles                                                      Check if this is community property                  $43,000.00                  $43,000.00
                                                                     (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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 Debtor 2        Stephanie B Jones                                                                                  Case number (if known)       19-10600

  3.3    Make:                                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         2013 Ford Expedition: over
         63,000 miles                                                Check if this is community property                              $23,557.50                 $11,778.75
                                                                     (see instructions)



  3.4    Make:                                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         2011 GMC Yukon: over 130,000
         miles                                                       Check if this is community property                              $18,585.00                 $18,585.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>               $123,363.75


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods of furniture, appliances, pots, pans, dishes,
                                    flatware, silverware, linens, rugs, lamps, shades, luggage,
                                    lawnmowers, hand tools, yard work tools, grills, etc.                                                                           $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    55" HD TV, 55" HD TV, 32" HD TV, 32" HD TV, broken 70" HD TV,
                                    D1's laptop, D2's laptop, 3-children's laptops, 2 - xbox 1's game
                                    system w games, 2-PS4 game station w/ games, bluray player
                                    (each item is worth less than $200)                                                                                             $1,400.00


                                    65" smart HD TV                                                                                                                   $250.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1       Michael Ryan Jones
 Debtor 2       Stephanie B Jones                                                                   Case number (if known)     19-10600

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    miscellaneous pictures, picture albums, picture frames, mirrors,
                                    etc.                                                                                                             $50.00


                                    5 Bibles & old text books                                                                                        $75.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    basketball goal, 1 bike, trampoline, rip stick, broken pool table,
                                    children's fishing poles (each item is worth less than $200)                                                   $275.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    personal clothing                                                                                              $500.00


                                    personal clothing                                                                                              $500.00


                                    children's clothing                                                                                          $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    wedding ring                                                                                                 $1,500.00


                                    miscellaneous items of costume jewelry                                                                           $50.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    10 year old Shihtzu, 6 mo old Lab with no papers, 9 month old mix
                                    breed dog                                                                                                          $0.00




Official Form 106A/B                                                  Schedule A/B: Property                                                           page 3
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 Debtor 2         Stephanie B Jones                                                                                           Case number (if known)   19-10600

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                            1 pair of prescription eye glasses                                                                                             $50.00


                                            1 pair of children's prescription eye glasses                                                                                  $30.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $8,180.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on hand                            $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Bank of Holly Springs                                                  $109.00



                                              17.2.       Savings                                 Bank of Holly Springs                                                      $6.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  J and J Wholesalers, Inc.                                                        25%           %                   $50,000.00


                                                  J and J Wholesalers, Inc.                                                        25%           %                   $50,000.00


                                                  Rebel Auto Body and Diesel Inc.                                                  25%           %                           $0.00


                                                  Rebel Auto Body and Diesel Inc.                                                  25%           %                           $0.00

Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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 Debtor 1         Michael Ryan Jones
 Debtor 2         Stephanie B Jones                                                                           Case number (if known)      19-10600


                                            Rebel Salvage, Inc.                                                     50%         %                               $0.00


                                            Rebel Salvage, Inc.                                                     50%         %                               $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                                Car dealer's license                                                                                            $0.00


 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 5
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 Debtor 1       Michael Ryan Jones
 Debtor 2       Stephanie B Jones                                                                       Case number (if known)   19-10600

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2019 earned income credit (EIC) and EIC
                                                             for all subsequent years, when
                                                             received                                                                             Unknown


                                                         2019 federal tax refund and refunds for all
                                                             subsequent years, when received                                                      Unknown


                                                         2019 state tax refund and refunds for all
                                                             subsequent years, when received                                                      Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
        Yes. Give specific information......


                                                         approximately $8,000.00 owed in back
                                                             child support by Josh Cargile                    Child Support                             $0.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                 Beneficiary:                          Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                      money owed to client from Anthony Charlton for stolen
                                                      assets                                                                                      $4,000.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
Official Form 106A/B                                                  Schedule A/B: Property                                                            page 6
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 Debtor 2        Stephanie B Jones                                                                                               Case number (if known)        19-10600

        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $104,215.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                        air compressor & heater                                                                                                                 $7,000.00


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                $7,000.00

Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 7
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 Debtor 2         Stephanie B Jones                                                                                                     Case number (if known)   19-10600


 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                          $0.00
 56. Part 2: Total vehicles, line 5                                                                         $123,363.75
 57. Part 3: Total personal and household items, line 15                                                      $8,180.00
 58. Part 4: Total financial assets, line 36                                                                $104,215.00
 59. Part 5: Total business-related property, line 45                                                         $7,000.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $242,758.75               Copy personal property total             $242,758.75

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $242,758.75




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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 Fill in this information to identify your case:

 Debtor 1                 Michael Ryan Jones
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Stephanie B Jones
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-10600
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Household goods of furniture,                                    $2,500.00                                 $2,500.00     Miss. Code Ann. § 85-3-1(a)
      appliances, pots, pans, dishes,
      flatware, silverware, linens, rugs,                                                  100% of fair market value, up to
      lamps, shades, luggage,                                                              any applicable statutory limit
      lawnmowers, hand tools, yard work
      tools, grills, etc.
      Line from Schedule A/B: 6.1

      55" HD TV, 55" HD TV, 32" HD TV, 32"                             $1,400.00                                 $1,400.00     Miss. Code Ann. § 85-3-1(a)
      HD TV, broken 70" HD TV, D1's
      laptop, D2's laptop, 3-children's                                                    100% of fair market value, up to
      laptops, 2 - xbox 1's game system w                                                  any applicable statutory limit
      games, 2-PS4 game station w/
      games, bluray player (each item is
      worth less than $200)
      Line from Schedule A/B: 7.1

      65" smart HD TV                                                     $250.00                                  $250.00     Miss. Code Ann. § 85-3-1(a)
      Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      miscellaneous pictures, picture                                      $50.00                                   $50.00     Miss. Code Ann. § 85-3-1(a)
      albums, picture frames, mirrors, etc.
      Line from Schedule A/B: 8.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            Case 19-10600-JDW                         Doc 17          Filed 03/11/19 Entered 03/11/19 08:01:41                                 Desc Main
                                                                     Document     Page 12 of 57
 Debtor 1    Michael Ryan Jones
 Debtor 2    Stephanie B Jones                                                                           Case number (if known)     19-10600
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     5 Bibles & old text books                                            $75.00                                    $75.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 8.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     basketball goal, 1 bike, trampoline,                                $275.00                                   $275.00        Miss. Code Ann. § 85-3-1(a)
     rip stick, broken pool table,
     children's fishing poles (each item is                                                100% of fair market value, up to
     worth less than $200)                                                                 any applicable statutory limit
     Line from Schedule A/B: 9.1

     personal clothing                                                   $500.00                                   $500.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     personal clothing                                                   $500.00                                   $500.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 11.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     children's clothing                                               $1,000.00                                 $1,000.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 11.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     wedding ring                                                      $1,500.00                                 $1,500.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     miscellaneous items of costume                                       $50.00                                    $50.00        Miss. Code Ann. § 85-3-1(a)
     jewelry
     Line from Schedule A/B: 12.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     10 year old Shihtzu, 6 mo old Lab                                      $0.00                                     $0.00       Miss. Code Ann. § 85-3-1(a)
     with no papers, 9 month old mix
     breed dog                                                                             100% of fair market value, up to
     Line from Schedule A/B: 13.1                                                          any applicable statutory limit

     1 pair of prescription eye glasses                                   $50.00                                    $50.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 14.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1 pair of children's prescription eye                                $30.00                                    $30.00        Miss. Code Ann. § 85-3-1(a)
     glasses
     Line from Schedule A/B: 14.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on hand                                                        $100.00                                   $100.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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            Case 19-10600-JDW                         Doc 17          Filed 03/11/19 Entered 03/11/19 08:01:41                                 Desc Main
                                                                     Document     Page 13 of 57
 Debtor 1    Michael Ryan Jones
 Debtor 2    Stephanie B Jones                                                                           Case number (if known)     19-10600
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2019 earned income credit (EIC) and                              Unknown                                  $10,000.00         Miss. Code Ann. § 85-3-1(i)
     EIC for all subsequent years, when
     received                                                                              100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit

     2019 federal tax refund and refunds                              Unknown                                  $10,000.00         Miss. Code Ann. § 85-3-1(j)
     for all subsequent years, when
     received                                                                              100% of fair market value, up to
     Line from Schedule A/B: 28.2                                                          any applicable statutory limit

     2019 state tax refund and refunds for                            Unknown                                  $10,000.00         Miss. Code Ann. § 85-3-1(k)
     all subsequent years, when received
     Line from Schedule A/B: 28.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Child Support: approximately                                           $0.00                                                 Miss Code Ann § 85-3-1(c)
     $8,000.00 owed in back child support                                                                                         100% of cash value is exempt.
     by Josh Cargile                                                                       100% of fair market value, up to       Thus if value is greater, the
     Line from Schedule A/B: 29.1                                                          any applicable statutory limit         excess is exempt also.

     money owed to client from Anthony                                 $4,000.00                                 $4,000.00        Miss. Code Ann. § 99-41-23(8)
     Charlton for stolen assets
     Line from Schedule A/B: 33.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                                                     Document     Page 14 of 57
 Fill in this information to identify your case:

 Debtor 1                   Michael Ryan Jones
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Stephanie B Jones
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-10600
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of Holly Springs                    Describe the property that secures the claim:               $194,508.99               $275,000.00                     $0.00
         Creditor's Name                          571 Hwy 7 North, Oxford, MS owned
                                                  by J and J Wholesalers, Inc.,
                                                  co-debtor
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 250                             apply.
         Holly Springs, MS 38635                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred                                    Last 4 digits of account number        5492

 2.2     Bank of Holly Springs                    Describe the property that secures the claim:                 $11,442.03               $26,800.00                     $0.00
         Creditor's Name                          2014 Ford F-250 4x4 King Ranch
                                                  owned by J and J Wholesalers, Inc.,
                                                  co-debtor
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 250                             apply.
         Holly Springs, MS 38635                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Non Purchase Money Auto Lien
       community debt

 Date debt was incurred          04/25/2019                Last 4 digits of account number        5733

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 6
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 Debtor 1 Michael Ryan Jones                                                                                  Case number (if known)   19-10600
               First Name                  Middle Name                      Last Name
 Debtor 2 Stephanie B Jones
               First Name                  Middle Name                      Last Name




 2.3     Bank of Holly Springs                      Describe the property that secures the claim:                    $15,147.02          $20,000.00             $0.00
         Creditor's Name                            2014 Ford F250 4x4m, 2007 Ford
                                                    XLT, & 2014 Polaris Side-by-Side
                                                    owned by J and J Wholesalers, Inc.,
                                                    co-debtor
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 250                               apply.
         Holly Springs, MS 38635                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non Purchase Money Auto Lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number         5733

 2.4     Bank of Holly Springs                      Describe the property that secures the claim:                    $21,280.88          $23,265.00             $0.00
         Creditor's Name                            2007 Double Tree 38' 5th wheel
                                                    camper owned by J and J
                                                    Wholesalers, Inc., co-debtor
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 250                               apply.
         Holly Springs, MS 38635                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6878

 2.5     Bank of Holly Springs                      Describe the property that secures the claim:                    $13,629.76          $20,000.00             $0.00
         Creditor's Name                            2008 Ford F-250 4x4, 2010 Ford
                                                    Expedition, PMSI in a 2014 Polaris
                                                    Razer 1000XP, PMSI in a 1994 Sea
                                                    Ray VS 3210 owned by J and J
                                                    Wholesalers, Inc., co-debtor
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 250                               apply.
         Holly Springs, MS 38635                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 6
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 Debtor 1 Michael Ryan Jones                                                                                  Case number (if known)   19-10600
               First Name                  Middle Name                      Last Name
 Debtor 2 Stephanie B Jones
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   NPML & PMSI
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9511

 2.6     Bank of Holly Springs                      Describe the property that secures the claim:                    $30,016.17          $35,000.00             $0.00
         Creditor's Name                            2008 Ford F-250 4x4, 2008 F-250 4x4
                                                    King Ranch, 2008 Ford F-250 4x4
                                                    Lariat, 2008 Ford F-350 4x4 Dually
                                                    Lariat, 2013 Jeep Saraha, 2008 Jeep
                                                    Wrangler owned by J and J
                                                    Wholesalers, Inc., co-debtor
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 250                               apply.
         Holly Springs, MS 38635                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non Purchase Money Auto Lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number         9669

 2.7     Bank of Holly Springs                      Describe the property that secures the claim:                    $11,484.41          $20,000.00             $0.00
         Creditor's Name                            2008 Ford F-350 4x4 owned by J & J
                                                    Wholesalers, Inc., co-debtor
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 250                               apply.
         Holly Springs, MS 38635                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Auto Lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1208

         Merchants & Farmers
 2.8                                                                                                                 $40,267.61          $50,000.00             $0.00
         Bank                                       Describe the property that secures the claim:
         Creditor's Name                            2015 Ford F250: over 21,000 miles
                                                    ($43,965.00) & 2015 Can-Am
                                                    Maverick 1000R Turbo X DS
                                                    ($10,066.50)
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 520                               apply.
         Kosciusko, MS 39090                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 6
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                                                                        Document     Page 17 of 57
 Debtor 1 Michael Ryan Jones                                                                                  Case number (if known)   19-10600
               First Name                  Middle Name                      Last Name
 Debtor 2 Stephanie B Jones
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Auto Lien
       community debt

 Date debt was incurred          2/26/2018                   Last 4 digits of account number


 2.9     MS Federal Credit Union                    Describe the property that secures the claim:                    $34,500.00          $43,000.00             $0.00
         Creditor's Name                            2015 Ford F250: over 88,000 miles

                                                    As of the date you file, the claim is: Check all that
         1101 Jackson Ave West                      apply.
         Oxford, MS 38655                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non Purchase Money Auto Lien
       community debt

 Date debt was incurred          08/08/2016                  Last 4 digits of account number


 2.1
 0       MS Federal Credit Union                    Describe the property that secures the claim:                    $27,500.00          $23,557.50       $3,942.50
         Creditor's Name                            2013 Ford Expedition: over 63,000
                                                    miles
                                                    As of the date you file, the claim is: Check all that
         1101 Jackson Ave West                      apply.
         Oxford, MS 38655                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Auto Lien
       community debt

 Date debt was incurred          7/7/2016                    Last 4 digits of account number


 2.1
 1       Renasant Bank                              Describe the property that secures the claim:                    $13,826.00          $18,585.00             $0.00
         Creditor's Name                            2011 GMC Yukon: over 130,000
                                                    miles
         Collection Recovery Dept
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 4140                              apply.
         Tupelo, MS 38803                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 6
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 Debtor 1 Michael Ryan Jones                                                                                  Case number (if known)   19-10600
               First Name                  Middle Name                      Last Name
 Debtor 2 Stephanie B Jones
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Auto Lien
       community debt

 Date debt was incurred          08/21/2015                  Last 4 digits of account number         6740

 2.1
 2       Snap On Credit LLC                         Describe the property that secures the claim:                        $963.00              $0.00          $963.00
         Creditor's Name                            miscellaneous items of assorted
                                                    tools (all of which were stolen)
         950 Technology Way
                                                    As of the date you file, the claim is: Check all that
         Suite 301                                  apply.
         Libertyville, IL 60048                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Lien
       community debt

 Date debt was incurred          11/09/2016                  Last 4 digits of account number         2501

 2.1
 3       Time Payment Corp                          Describe the property that secures the claim:                      $7,000.00          $7,000.00             $0.00
         Creditor's Name                            air compressor & heater

                                                    As of the date you file, the claim is: Check all that
         10M Commerce Way                           apply.
         Woburn, MA 01801                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $421,565.87
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $421,565.87

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 6
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 Debtor 1 Michael Ryan Jones                                                              Case number (if known)          19-10600
              First Name                Middle Name                     Last Name
 Debtor 2 Stephanie B Jones
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.8
        Jones & Schneller, PLLC
        126 North Spring Street                                                     Last 4 digits of account number
        Holly Springs, MS 38635

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        R. Brannon Kahlstorf, Esq.
        P.O. Box 7120                                                               Last 4 digits of account number
        Tupelo, MS 38802

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.1
        Schneller & Lomenick, P.A.
        Attorneys At Law                                                            Last 4 digits of account number
        126 North Spring St.
        P.O. Box 417
        Holly Springs, MS 38635

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.9
        Terry D. Little, Esq.
        Harper Whitwell, PLLC                                                       Last 4 digits of account number
        P.O. Box 3150
        Oxford, MS 38655

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        Terry D. Little, Esq.
        Harper Whitwell, PLLC                                                       Last 4 digits of account number
        P.O. Box 3150
        Oxford, MS 38655




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6 of 6
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 Fill in this information to identify your case:

 Debtor 1                   Michael Ryan Jones
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Stephanie B Jones
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number            19-10600
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Bank of Holly Springs                                   Last 4 digits of account number                                                                     $3,361.27
              Nonpriority Creditor's Name
              P.O. Box 250                                            When was the debt incurred?
              Holly Springs, MS 38635
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   overdrafted business bank account




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 Debtor 1 Michael Ryan Jones
 Debtor 2 Stephanie B Jones                                                                              Case number (if known)         19-10600

 4.2      BMH North                                                  Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          Patient Payments                                           When was the debt incurred?
          MSC 410407
          P.O. Box 415000
          Nashville, TN 37241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.3      BMH Oxford Emergency Physicians                            Last 4 digits of account number                                                            $1,835.00
          Nonpriority Creditor's Name
          P.O. Box 730540                                            When was the debt incurred?
          Dallas, TX 75373-0540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.4      Capital One Bank                                           Last 4 digits of account number       5205                                                   $721.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                                     When was the debt incurred?
          P.O. Box 30253
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases




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 Debtor 1 Michael Ryan Jones
 Debtor 2 Stephanie B Jones                                                                              Case number (if known)         19-10600

 4.5      Comenity Bank - Ulta                                       Last 4 digits of account number       5824                                                   $914.00
          Nonpriority Creditor's Name
          P.O. Box 182120                                            When was the debt incurred?           11/20/2016
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.6      DirecTV                                                    Last 4 digits of account number                                                              $700.00
          Nonpriority Creditor's Name
          Bankruptcy Dept.                                           When was the debt incurred?
          P.O. Box 6550
          Greenwood Village, CO 80155-6550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   satellite television services


 4.7      Garrett, Friday & Garner, PLLC                             Last 4 digits of account number                                                            $2,400.00
          Nonpriority Creditor's Name
          Ray Garrett, Esq.                                          When was the debt incurred?
          1205 Office Park Dr, Ste B
          Oxford, MS 38655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   legal fees




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 Debtor 2 Stephanie B Jones                                                                              Case number (if known)         19-10600

 4.8      Intuit                                                     Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          20 Pacifica                                                When was the debt incurred?
          Suite 1450
          Irvine, CA 92618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.9      Johnnie Sneed                                              Last 4 digits of account number                                                            $5,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          CLIENT TO PROVIDE INFO
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   refund


 4.1
 0        JPB Pathology, Inc.                                        Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          P.O. Box 428                                               When was the debt incurred?
          Oxford, MS 38655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services




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 Debtor 2 Stephanie B Jones                                                                              Case number (if known)         19-10600

 4.1
 1        Murphrees Frame Supply                                     Last 4 digits of account number                                                            $4,000.00
          Nonpriority Creditor's Name
          P.O. Box 625                                               When was the debt incurred?
          Bruce, MS 38915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.1
 2        Paul Shirley                                               Last 4 digits of account number                                                            $5,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          CLIENT TO PROVIDE INFO
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   refund


 4.1
 3        Progressive Insurance                                      Last 4 digits of account number                                                              $148.00
          Nonpriority Creditor's Name
          The Progressive Corporation                                When was the debt incurred?
          6300 Wilson Mills Rd.
          Mayfield Village, OH 44143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   insurance premiums




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 Debtor 2 Stephanie B Jones                                                                              Case number (if known)         19-10600

 4.1
 4        Radiology Assoc of Oxford                                  Last 4 digits of account number       misc. accts                                            $341.00
          Nonpriority Creditor's Name
          P.O. Box 55449                                             When was the debt incurred?
          Jackson, MS 39296
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.1
 5        Radiology Assoc. of Oxford, PA                             Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          P.O. Box 55449                                             When was the debt incurred?
          Jackson, MS 39296
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.1
 6        Renasant Bank                                              Last 4 digits of account number                                                          $37,000.00
          Nonpriority Creditor's Name
          Collection Recovery Dept                                   When was the debt incurred?
          P.O. Box 4140
          Tupelo, MS 38803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   signature loan




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 Debtor 2 Stephanie B Jones                                                                              Case number (if known)         19-10600

 4.1
 7        Square                                                     Last 4 digits of account number                                                              $548.69
          Nonpriority Creditor's Name
          1455 Market St.                                            When was the debt incurred?
          Suite 600
          San Francisco, CA 94103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.1
 8        Synchrony Bank - Belk                                      Last 4 digits of account number                                                            $1,044.00
          Nonpriority Creditor's Name
          Bankruptcy Dept.                                           When was the debt incurred?
          P.O. Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.1
 9        Synchrony Bank - TJX                                       Last 4 digits of account number                                                            $1,220.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                                     When was the debt incurred?
          P.O. Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases




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 Debtor 2 Stephanie B Jones                                                                              Case number (if known)         19-10600

 4.2
 0        Synchrony Bank - Walmart                                   Last 4 digits of account number       4291                                                   $725.00
          Nonpriority Creditor's Name
          Bankruptcy Dept                                            When was the debt incurred?
          P.O. Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.2
 1        Urgent Care Clinic of Oxford, LLC                          Last 4 digits of account number                                                                $65.00
          Nonpriority Creditor's Name
          1487 Belk Blvd                                             When was the debt incurred?
          Oxford, MS 38655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.2
 2        ViaSat, Inc.                                               Last 4 digits of account number                                                              $450.00
          Nonpriority Creditor's Name
          349 Inverness Drive South                                  When was the debt incurred?
          Englewood, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   broken contract




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 4.2
 3         Women's Clinic of New Albany                              Last 4 digits of account number                                                                  $878.00
           Nonpriority Creditor's Name
           403 Doctors Drive                                         When was the debt incurred?
           New Albany, MS 38652
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alliance Collection Services                                  Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 207 E Franklin St.                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Tupelo, MS 38804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Collection Services                                    Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 607                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Norwood, MA 02062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LVNV Funding, LLC                                             Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Resurgent Capital Services                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1269
 Greenville, SC 29602
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Phoenix Financial Services, LLC                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 361450                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Indianapolis, IN 46236
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Smith Rouchon & Associates                                    Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1456 Ellis Ave.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Jackson, MS 39204
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Smith Rouchon & Associates                                    Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1456 Ellis Ave.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Jackson, MS 39204
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 9 of 10
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          Case 19-10600-JDW                           Doc 17          Filed 03/11/19 Entered 03/11/19 08:01:41                               Desc Main
                                                                     Document     Page 29 of 57
 Debtor 1 Michael Ryan Jones
 Debtor 2 Stephanie B Jones                                                                             Case number (if known)    19-10600

                        6a.   Domestic support obligations                                                6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                     0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                66,350.96

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                66,350.96




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 10
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              Case 19-10600-JDW                         Doc 17         Filed 03/11/19 Entered 03/11/19 08:01:41                           Desc Main
                                                                      Document     Page 30 of 57
 Fill in this information to identify your case:

 Debtor 1                  Michael Ryan Jones
                           First Name                         Middle Name            Last Name

 Debtor 2                  Stephanie B Jones
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-10600
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Carter Hitt                                                                Contract Type: personal service contract
               101 Mondrian Pl                                                            Description: contingency fee agreement for legal
               Oxford, MS 38655                                                           services
                                                                                          Terms: $150.00 per hour
                                                                                          Buyout: n/a
                                                                                          Interest: client




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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              Case 19-10600-JDW                          Doc 17          Filed 03/11/19 Entered 03/11/19 08:01:41               Desc Main
                                                                        Document     Page 31 of 57
 Fill in this information to identify your case:

 Debtor 1                   Michael Ryan Jones
                            First Name                           Middle Name         Last Name

 Debtor 2                   Stephanie B Jones
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-10600
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         J and J Wholesalers, Inc.                                                              Schedule D, line
                571 Hwy 7 North                                                                        Schedule E/F, line 4.11
                Oxford, MS 38655
                                                                                                       Schedule G
                                                                                                     Murphrees Frame Supply



    3.2         J and J Wholesalers, Inc.                                                              Schedule D, line
                571 Hwy 7 North                                                                        Schedule E/F, line    4.17
                Oxford, MS 38655
                                                                                                       Schedule G
                                                                                                     Square



    3.3         J and J Wholesalers, Inc.                                                               Schedule D, line
                571 Hwy 7 North                                                                         Schedule E/F, line   4.8
                Oxford, MS 38655
                                                                                                        Schedule G
                                                                                                     Intuit




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 3
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              Michael Ryan Jones
 Debtor 1 Stephanie B Jones                                                                  Case number (if known)   19-10600


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      J and J Wholesalers, Inc.                                                              Schedule D, line   2.1
             571 Hwy 7 North                                                                        Schedule E/F, line
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.5      J and J Wholesalers, Inc.                                                              Schedule D, line
             571 Hwy 7 North                                                                        Schedule E/F, line  4.1
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.6      J and J Wholesalers, Inc.                                                              Schedule D, line   2.2
             571 Hwy 7 North                                                                        Schedule E/F, line
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.7      J and J Wholesalers, Inc.                                                              Schedule D, line   2.3
             571 Hwy 7 North                                                                        Schedule E/F, line
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.8      J and J Wholesalers, Inc.                                                              Schedule D, line   2.4
             571 Hwy 7 North                                                                        Schedule E/F, line
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.9      J and J Wholesalers, Inc.                                                              Schedule D, line   2.5
             571 Hwy 7 North                                                                        Schedule E/F, line
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.10     J and J Wholesalers, Inc.                                                              Schedule D, line   2.6
             571 Hwy 7 North                                                                        Schedule E/F, line
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.11     J and J Wholesalers, Inc.                                                              Schedule D, line   2.7
             571 Hwy 7 North                                                                        Schedule E/F, line
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 3
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                                                                     Document     Page 33 of 57
              Michael Ryan Jones
 Debtor 1 Stephanie B Jones                                                                  Case number (if known)   19-10600


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.12     Michael Edward Jones                                                                   Schedule D, line   2.1
             1745 JQ West Rd.                                                                       Schedule E/F, line
             Sardis, MS 38666
                                                                                                    Schedule G
                                                                                                  Bank of Holly Springs



    3.13     Michael Edward Jones                                                                   Schedule D, line   2.9
             1745 JQ West Rd.                                                                       Schedule E/F, line
             Sardis, MS 38666
                                                                                                    Schedule G
                                                                                                  MS Federal Credit Union



    3.14     Michael Edward Jones                                                                   Schedule D, line   2.13
             1745 JQ West Rd.                                                                       Schedule E/F, line
             Sardis, MS 38666
                                                                                                    Schedule G
                                                                                                  Time Payment Corp



    3.15     Michael Edward Jones                                                                   Schedule D, line   2.10
             1745 JQ West Rd.                                                                       Schedule E/F, line
             Sardis, MS 38666
                                                                                                    Schedule G
                                                                                                  MS Federal Credit Union




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 3 of 3
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Fill in this information to identify your case:

Debtor 1                      Michael Ryan Jones

Debtor 2                      Stephanie B Jones
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF MISSISSIPPI

Case number               19-10600                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            self employed                                Student
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
           Case 19-10600-JDW               Doc 17       Filed 03/11/19 Entered 03/11/19 08:01:41                                     Desc Main
                                                       Document     Page 35 of 57

Debtor 1    Michael Ryan Jones
Debtor 2    Stephanie B Jones                                                                     Case number (if known)    19-10600


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $                 0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $                 0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $                 0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $                 0.00
      5e.   Insurance                                                                      5e.        $              0.00     $                 0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $                 0.00
      5g.   Union dues                                                                     5g.        $              0.00     $                 0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $                 0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                 0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                 0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                 0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                 0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $            542.37
      8d. Unemployment compensation                                                        8d.        $              0.00     $              0.00
      8e. Social Security                                                                  8e.        $              0.00     $              0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                       0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $                       0.00
      8h. Other monthly income. Specify: draws from J & J Wholesalers                      8h.+ $            1,600.00 + $                       0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,600.00         $            542.37

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              1,600.00 + $            542.37 = $           2,142.37
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.    $          2,142.37
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: All expenses of the home, which is owned by J and J Wholesalers. Thus, debtors estimate that the
                             value of the rent and utilities is $1400.00 per month; but lowers expenses.




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1                 Michael Ryan Jones                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                 Stephanie B Jones                                                                     A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF MISSISSIPPI                                           MM / DD / YYYY

Case number           19-10600
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Son                                                      Yes
                                                                                                                                            No
                                                                                   Son                                                      Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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                                                           Document     Page 37 of 57

Debtor 1     Michael Ryan Jones
Debtor 2     Stephanie B Jones                                                                         Case number (if known)      19-10600

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                850.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                   0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    misc expenses                                                       21. +$                                                150.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,450.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,450.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,142.37
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,450.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 692.37

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 19-10600-JDW                       Doc 17          Filed 03/11/19 Entered 03/11/19 08:01:41                         Desc Main
                                                                     Document     Page 38 of 57




 Fill in this information to identify your case:

 Debtor 1                    Michael Ryan Jones
                             First Name                     Middle Name             Last Name

 Debtor 2                    Stephanie B Jones
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number              19-10600
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Michael Ryan Jones                                                    X   /s/ Stephanie B Jones
              Michael Ryan Jones                                                        Stephanie B Jones
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       March 11, 2019                                                 Date    March 11, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Michael Ryan Jones
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Stephanie B Jones
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number           19-10600
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                             Wages, commissions,                          Unknown            Wages, commissions,                  Unknown
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 2      Stephanie B Jones                                                                           Case number (if known)   19-10600

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For the calendar year before that:                  Wages, commissions,                          Unknown            Wages, commissions,             $10,747.00
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until                                                                  $0.00       Child Support                        $3,500.00
 the date you filed for bankruptcy:

 For last calendar year:                                                                               $0.00       Child Support                        $1,500.00
 (January 1 to December 31, 2018 )


                                                   EIC & misc. tax                                $2,768.00        EIC & misc. tax                      $2,769.00
                                                   credits                                                         credits

 For the calendar year before that:                                                                    $0.00       Child Support                        $1,500.00
 (January 1 to December 31, 2017 )


                                                   EIC & misc. tax                                $4,134.00        EIC & misc. tax                      $4,135.00
                                                   credits                                                         credits

                                                   Rental Income                                  $2,025.00        Rental Income                        $2,025.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.

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 Debtor 2      Stephanie B Jones                                                                           Case number (if known)   19-10600


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Renasant Bank versus J and J                             Debt Collection             Lafayette Co Circuit Court                 Pending
       Wholesalers, Inc., Michael Ryan                                                      1 Courthouse Sq, Ste 101                   On appeal
       Jones, Michael Edward Jones,                                                         Oxford, MS 38655
                                                                                                                                       Concluded
       Stephanie Bailey Jones
       L18-550

       Zach Whitfield v Michael Ryan                            collection suit             Justice Court of Lafayette                 Pending
       Jones                                                                                Co, MS                                     On appeal
       unknown                                                                              713 Jackson Ave E
                                                                                                                                       Concluded
                                                                                            Oxford, MS 38655

       Merchants & Farmers Bank VS.                             Complaint in                Circuit Court of Marshall                  Pending
       Michael Ryan Jones                                       Replevin                    County                                     On appeal
       CV2018-425                                                                           128 E Van Dorn Ave.
                                                                                                                                       Concluded
                                                                                            Holly Springs, MS 38635

       Mississippi Federal Credit Union                         Complaint in                Panola County Circuit                      Pending
       VS. Michael E. Jones and                                 Replevin                    Court                                      On appeal
       Stephanie B. Jones                                                                   215 Pocahontas St.
                                                                                                                                       Concluded
       CV2018-82JMP1                                                                        Sardis, MS 38666

       Mississippi Federal Credit Union                         Complaint in                Panola County Circuit                      Pending
       VS. Michael E. Jones and M. Ryan                         Replevin                    Court                                      On appeal
       Jones                                                                                215 Pocahontas St.
                                                                                                                                       Concluded
       CV2018-83SMP1                                                                        Sardis, MS 38666




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 Debtor 2      Stephanie B Jones                                                                           Case number (if known)    19-10600

       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Coby Lee Forester v J and J                              PI claim                    Circuit Court of Lafayette                  Pending
       Wholesalers, Inc., Michael Ryan                                                      County, MS                                  On appeal
       Jones & Michael Edward Jones                                                         1 Courthouse Sq, Ste 101
                                                                                                                                        Concluded
       L18-300                                                                              Oxford, MS 38655


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       Merchants & Farmers Bank                                 2015 Ford F250: over 21,000 miles                             January 29,                 $54,031.50
       P.O. Box 520                                             ($43,965.00) & 2015 Can-Am Maverick                           2019
       Kosciusko, MS 39090                                      1000R Turbo X DS ($10,066.50)

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Community Church                                               tithes & offering                                       over the past                $2,400.00
       Oxford, MS 38655                                                                                                       24 months




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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.
       2011 Ford Expedition was in                          had insurance, but it was in the name of the                      5/2018                      $2,500.00
       auto wreck caused by hitting a                       business and not in their personal name
       deer.


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Gambrell & Associates, PLLC                                    Court Costs - $310.00                                   02/11/2019                  $1,810.00
       101 Ricky D Britt Sr Blvd., Ste 3                              Attorney Fees - $1500.00
       Oxford, MS 38655


       DebtorCC                                                       Credit Counseling Certificates - $14.95                 2/11/2019                       $14.95
       001 Debtorcc, Inc.
       372 Summit Avenue
       Jersey City, NJ 07306


       C. Gaines Baker, Esq.                                          legal fees for bankruptcy consultation ;                1/2019                          $75.00
       136 Public Sq. #1                                              $75.00
       Batesville, MS 38606


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                          Date Transfer was
                                                                                                                                                 made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of               Type of account or       Date account was              Last balance
       Address (Number, Street, City, State and ZIP             account number                 instrument               closed, sold,             before closing or
       Code)                                                                                                            moved, or                          transfer
                                                                                                                        transferred
       Renasant Bank                                            XXXX-                              Checking             5/2018                             $200.00
       Collection Recovery Dept                                                                    Savings
       P.O. Box 4140
                                                                                                   Money Market
       Tupelo, MS 38803
                                                                                                   Brokerage
                                                                                                   Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                               have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                       have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                             Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)




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 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                   Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       J and J Wholesale, Inc.                                  restore/ wholesale autos                              EIN:       XX-XXXXXXX
       571 Hwy 7 North
       Oxford, MS 38655                                         Debtors                                               From-To    2014 to present




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        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Totty Tots, LLC                                         daycare business                                 EIN:         xxx-xx-0348
        571 Hwy 7 North
        Oxford, MS 38655                                        Debtors                                          From-To      2015 to 2017

        Stephanie B Jones                                       photography                                      EIN:
        571 Hwy 7 North
        Oxford, MS 38655                                        Debtors                                          From-To      2012 to 2017

        Rebel Salvage, Inc.                                     salvage                                          EIN:
        571 Hwy 7 North
        Oxford, MS 38655                                        Debtors                                          From-To      2017 to 2018

        Rebel Auto Body and Diesel Inc.                         auto body & salvage                              EIN:
        571 Hwy 7 North
        Oxford, MS 38655                                        Debtors                                          From-To      2016 to present

        Stephanie B Jones                                       direct sales                                     EIN:         xxx-xx-0348
        571 Hwy 7 North
        Oxford, MS 38655                                        Debtors                                          From-To      2017 to 2017


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Michael Ryan Jones                                                  /s/ Stephanie B Jones
 Michael Ryan Jones                                                      Stephanie B Jones
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      March 11, 2019                                                Date     March 11, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
             Michael Ryan Jones
 In re       Stephanie B Jones                                                                                Case No.      19-10600
                                                                                    Debtor(s)                 Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,600.00
             Prior to the filing of this statement I have received                                        $                  1,500.00
             Balance Due                                                                                  $                  2,100.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           through the Chapter 13 Plan.

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Representation of the debtor in motions to modify the plan, motions to suspend the plan payments, objections to
                 claims, motions to avoid liens, motions to lift stay filed by creditors, and motions to dismiss filed by the trustee
                 or any creditors.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               The fee is limited to $800.00 above the amount stated above as the total fee. If the fees and expenses at the
               hourly rate or $250.00 per hour for attorney time and $85.00 per hour for paralegal time exceeds the stated fee by
               more than $800.00, then additional charges for fees and expenses will be submitted to the court for approval.
               This provision is placed in the the contract with the debtors Example, if the No-Look fee is $3,200.00, then no
               additional fees will be charged until the time and expenses in the case excees $4,000.00. This is done to comply
               with the provision that if contested matters result in the expenditure of an extraordinary amount of time, counsel
               may request an enhancement of the No-Look fee and Debtor will file a application requestin any additional fees
               along with detailed time sheet establishing the time expended resulting in the need for additional fees to
               compensate counsel for time and expenses exceeds the No-Look fee by more than $800.00.

                  Representation of the debtors in adversary proceedings such as complaints to strip second mortgages or
                  complaints to set aside pre-petition or post-petition taransfers are not included in the No-Look fee. Counsel will
                  charge fees in the same hourly rate as set forth above along with expenses incurred in the handling of the
                  Adversary Proceeding.

                  Actions in behalf of Debtor to recover preferential payments to judgment creditor on garnished funds, to recover
                  damages from creditors and other parties for violation of the Automatic Stay, for mortgage lender abuses and
                  other post-petition actions of creditors will be handled by counsel on a contingent fee basis, with counsel
                  recoverying 50% of the net recovery after payment of all expenses incurred in the litigation. Counsel will only be
                  paid the contingency fee in cases such as these upon the approval of said fees by the Court after notification to
                  all creditors and parties-in-interest.




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 In re       Stephanie B Jones                                                                        Case No.     19-10600
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 11, 2019                                                             /s/ Robert Gambrell
     Date                                                                       Robert Gambrell 4409
                                                                                Signature of Attorney
                                                                                Gambrell & Associates, PLLC
                                                                                101 Ricky D Britt Sr Blvd, Ste 3
                                                                                Oxford, MS 38655-4236
                                                                                662-281-8800 Fax: 662-202-1004
                                                                                rg@ms-bankruptcy.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Michael Ryan Jones
 In re      Stephanie B Jones                                                                           Case No.   19-10600
                                                                                    Debtor(s)           Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: March 11, 2019                                                    /s/ Michael Ryan Jones
                                                                         Michael Ryan Jones
                                                                         Signature of Debtor

 Date: March 11, 2019                                                    /s/ Stephanie B Jones
                                                                         Stephanie B Jones
                                                                         Signature of Debtor




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                        Alliance Collection Services
                        207 E Franklin St.
                        Tupelo, MS 38804


                        Bank of Holly Springs
                        P.O. Box 250
                        Holly Springs, MS 38635


                        BMH North
                        Patient Payments
                        MSC 410407
                        P.O. Box 415000
                        Nashville, TN 37241


                        BMH Oxford Emergency Physicians
                        P.O. Box 730540
                        Dallas, TX 75373-0540


                        Capital One Bank
                        Attn: Bankruptcy Dept.
                        P.O. Box 30253
                        Salt Lake City, UT 84130


                        Carter Hitt
                        101 Mondrian Pl
                        Oxford, MS 38655


                        Comenity Bank - Ulta
                        P.O. Box 182120
                        Columbus, OH 43218


                        Credit Collection Services
                        P.O. Box 607
                        Norwood, MA 02062


                        DirecTV
                        Bankruptcy Dept.
                        P.O. Box 6550
                        Greenwood Village, CO 80155-6550


                        Garrett, Friday & Garner, PLLC
                        Ray Garrett, Esq.
                        1205 Office Park Dr, Ste B
                        Oxford, MS 38655
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                    Intuit
                    20 Pacifica
                    Suite 1450
                    Irvine, CA 92618


                    J and J Wholesalers, Inc.
                    571 Hwy 7 North
                    Oxford, MS 38655


                    Johnnie Sneed
                    CLIENT TO PROVIDE INFO


                    Jones & Schneller, PLLC
                    126 North Spring Street
                    Holly Springs, MS 38635


                    JPB Pathology, Inc.
                    P.O. Box 428
                    Oxford, MS 38655


                    LVNV Funding, LLC
                    c/o Resurgent Capital Services
                    PO Box 1269
                    Greenville, SC 29602


                    Merchants & Farmers Bank
                    P.O. Box 520
                    Kosciusko, MS 39090


                    Michael Edward Jones
                    1745 JQ West Rd.
                    Sardis, MS 38666


                    MS Federal Credit Union
                    1101 Jackson Ave West
                    Oxford, MS 38655


                    Murphrees Frame Supply
                     P.O. Box 625
                    Bruce, MS 38915


                    Paul Shirley
                    CLIENT TO PROVIDE INFO
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                    Phoenix Financial Services, LLC
                    P.O. Box 361450
                    Indianapolis, IN 46236


                    Progressive Insurance
                    The Progressive Corporation
                    6300 Wilson Mills Rd.
                    Mayfield Village, OH 44143


                    R. Brannon Kahlstorf, Esq.
                    P.O. Box 7120
                    Tupelo, MS 38802


                    Radiology Assoc of Oxford
                    P.O. Box 55449
                    Jackson, MS 39296


                    Radiology Assoc. of Oxford, PA
                    P.O. Box 55449
                    Jackson, MS 39296


                    Renasant Bank
                    Collection Recovery Dept
                    P.O. Box 4140
                    Tupelo, MS 38803


                    Schneller & Lomenick, P.A.
                    Attorneys At Law
                    126 North Spring St.
                    P.O. Box 417
                    Holly Springs, MS 38635


                    Smith Rouchon & Associates
                    1456 Ellis Ave.
                    Jackson, MS 39204


                    Snap On Credit LLC
                    950 Technology Way
                    Suite 301
                    Libertyville, IL 60048


                    Square
                    1455 Market St.
                    Suite 600
                    San Francisco, CA 94103
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                    Synchrony Bank - Belk
                    Bankruptcy Dept.
                    P.O. Box 965060
                    Orlando, FL 32896-5060


                    Synchrony Bank - TJX
                    Attn: Bankruptcy Dept.
                    P.O. Box 965060
                    Orlando, FL 32896-5060


                    Synchrony Bank - Walmart
                    Bankruptcy Dept
                    P.O. Box 965060
                    Orlando, FL 32896-5060


                    Terry D. Little, Esq.
                    Harper Whitwell, PLLC
                    P.O. Box 3150
                    Oxford, MS 38655


                    Time Payment Corp
                    10M Commerce Way
                    Woburn, MA 01801


                    Urgent Care Clinic of Oxford, LLC
                    1487 Belk Blvd
                    Oxford, MS 38655


                    ViaSat, Inc.
                    349 Inverness Drive South
                    Englewood, CO 80112


                    Women's Clinic of New Albany
                    403 Doctors Drive
                    New Albany, MS 38652
